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                                   6

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                                   8                                UNITED STATES DISTRICT COURT
                                   9                                 MIDDLE DISTRICT OF FLORIDA
                                  10                                        ORLANDO DIVISION
                                  11
                                        UNITED STATES OF AMERICA, EX
189 S. Orange Avenue, Suite 810




                                  12    REL. BARBARA BERNIER;
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                                        BARBARA BERNIER; and, ESE LOVE,
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                                  13
                                                      Relator/Plaintiffs,
                                  14           vs.                                    Case No.: 6:16-cv-00970-RBD-TBS
                                  15    INFILAW CORPORATION;                          MEMORANDUM OF LAW IN
                                        CHARLOTTE SCHOOL OF LAW, LLC;                 OPPOSITION TO ABA DEFENDANTS’
                                  16    AMERICAN BAR ASSOCIATION, d/b/a               MOTION TO DISMISS
                                        COUNCIL OF THE SECTION OF LEGAL
                                  17    EDUCATION AND ADMISSIONS TO
                                        THE BAR; and AMERICAN BAR
                                  18    ASSOCIATION, d/b/a ACCREDITATION
                                        COMMITTEE OF THE SECTION OF
                                  19    LEGAL EDUCATION AND
                                        ADMISSIONS TO THE BAR,
                                  20

                                  21                  Defendants.
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                                        MEMORANDUM OF LAW IN OPPOSITION TO ABA DEFENDANTS’ MOTION TO DISMISS-1
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                                   1           Relator/Plaintiff, BARBARA BERNIER, and Plaintiff, ESE LOVE, pursuant to M. D.

                                   2    Fla. R. 3.01(b), respond to the motion to dismiss count III of the second amended complaint,

                                   3    Doc. 86, served by Defendants, AMERICAN BAR ASSOCIATION, d/b/a COUNCIL OF THE

                                   4    SECTION OF LEGAL EDUCATION AND ADMISSIONS TO THE BAR and AMERICAN

                                   5    BAR ASSOCIATION, d/b/a ACCREDITATION COMMITTEE OF THE SECTION OF

                                   6    LEGAL EDUCATION AND ADMISSIONS TO THE BAR (collectively the “ABA

                                   7    Defendants”), and state as follows:

                                   8    I.     INTRODUCTION

                                   9           For-profit schools are the most expensive option yet cater to students with the least

                                  10    ability to pay and, according to statistics, to succeed academically. This case demonstrates that

                                  11    law schools are not immune from these pernicious practices, which if unchecked can, and all too
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                                  12    often do, culminate in hundreds of thousands of dollars in non-dischargeable, crippling student
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                                  13    loan debt. Every story, every industry, needs a hero—who some would call a guardian. The

                                  14    ABA Defendants voluntarily undertook that role for the legal industry more than 60 years ago.

                                  15    But it failed to live up to its own standards.

                                  16           Prospective law students consume statistics; they quickly learn that ascending to the

                                  17    profession means roughly 1,000 days to the bar. This case lies in the gap of that journey, where

                                  18    they discover certain indicia of reliability. One of the most significant, of course, is the term

                                  19    “ABA-accredited” that wields much the same power as does a fanciful trademark. For law

                                  20    students, they rely heavily on this term because in all but four of the fifty States, they must

                                  21    capture this credential to qualify for a seat in the bar exam conference hall. The equation is

                                  22    straightforward: no ABA-credential, no bar exam; no bar exam, no license to practice law.

                                  23           The ABA Defendants exist solely to accredit law schools, and in that process, the public

                                  24    depends on their stamp of approval. With accreditation, the ABA Defendants continuously hold

                                  25    out that law schools meet their accreditation standards. In spite of all this, the ABA Defendants

                                  26    now cast aside the very class of persons they were designed to serve. As they say, they owe no

                                  27    duty to any law student, period. But if accreditation is not solely for the benefit of students, then

                                  28    it is difficult to imagine why the task is performed at all.

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                                   1    II.     BACKGROUND

                                   2            As the ABA Defendants observe, they were neither named in the initial nor amended

                                   3    complaints in this action. Doc. 86 at 3–4. Be that as it may, this has nothing to do with the

                                   4    operative complaint—the second amended. See generally Doc. 73. There, the ABA

                                   5    Defendants’ actions, and inactions, are germane to count III for negligence. Id. at 2.

                                   6            Central to this case are claims arising under the False Claims Act (the “FCA”), 31 U.S.C.

                                   7    § 3729, et seq., to recover damages from false claims made by Defendants, INFILAW

                                   8    CORPORATION (“Infilaw”) and CHARLOTTE SCHOOL OF LAW, LLC (“CSOL”)

                                   9    (collectively the “Infilaw Defendants”) to the United States Department of Education (“DOE”),

                                  10    in violation of Title IV of the Higher Education Act (“HEA”), 20 U.S.C. §§ 1070, et seq. Doc.

                                  11    73 at 2. Bernier is a former CSOL professor and Love is a former CSOL student. Id. Both
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                                  12    Bernier and Love relied, predictably, on the holy grail: the ABA-accredited seal of approval on
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                                  13    CSOL.

                                  14            The ABA Defendants serve as the accrediting agency for law schools under the HEA and

                                  15    have undertaken certain legal duties in that regard since 1952. Id. at 3, 6. But it is important to

                                  16    note that the ABA Defendants are not the “ABA proper.” Instead, as their website describes,

                                  17    they are “independent of the ABA, as required by DOE regulations.” 1 The ABA Defendants’

                                  18    sole purpose, as opposed to the ABA generally, is to “be a creative national force in providing

                                  19    leadership and services to those responsible for[,] and those who benefit from[,] a sound

                                  20    program of legal education and bar admissions.” 2 One of Infilaw’s Board Members, Dennis

                                  21    Archer, is on a committee for the ABA’s Section of Legal Education and Admissions to the Bar

                                  22    and is tasked with duties concerning accreditation and financial reviews of law schools,

                                  23

                                  24
                                                1
                                                 See American Bar Association, About Us,
                                  25    https://www.americanbar.org/groups/legal_education/about_us.html (last visited June 11, 2018).
                                        Nonetheless, there is no indication that the ABA Defendants are actually a separate legal entity
                                  26    from the ABA. This court may consider factual content on the ABA Defendants’ website in
                                        deciding the motion to dismiss because the ABA Defendants’ website is referenced in the
                                  27    second amended complaint, Doc. 73 at 4. E.g., Friedman v. MedJet Assistance, LLC, No. cv
                                        0907585MMMVBKX, 2010 WL 11463109, at *4 (C.D. Cal. May 13, 2010) (collecting cases).
                                  28
                                                2
                                                    See supra, note 1.
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                                   1    including CSOL. Doc. 73 at 8. Another of Infilaw’s employees, Jay Conison, also served on a

                                   2    committee for the ABA’s Section of Legal Education and Admissions to the Bar. Id.

                                   3           In a nutshell, the allegations are that the Infilaw Defendants, who operate for-profit law

                                   4    schools, defrauded the federal government by entering into Program Participation Agreements

                                   5    (“PPAs”) with the DOE and then did an end-run around the HEA, all while on the ABA

                                   6    Defendants’ watch. See generally Doc. 73. In December 2016, the DOE found that CSOL was

                                   7    out of compliance with ABA standards and that the noncompliance was both “substantial” and

                                   8    “persistent.” Id. at 19. The DOE went on to find that CSOL made “substantial

                                   9    misrepresentations” regarding the nature of its academic programs. Id. As a result, the DOE

                                  10    revoked CSOL’s ability to access Title IV funds. Id. The State of North Carolina revoked

                                  11    CSOL’s business license in August 2017. Id. at 10. Shortly thereafter, CSOL closed. See id.
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                                  12    III.   LEGAL STANDARD
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                                  13           A. Rule 12(b)(2): In Personam Jurisdiction.

                                  14           To establish personal jurisdiction over a nonresident defendant, a plaintiff “initially need

                                  15    only allege sufficient facts to make out a prima facie case of jurisdiction.” Tickling Keys, Inc. v.

                                  16    Transamerica Fin. Advisors, Inc., No. 6:17-cv-1734ORL37KRS, 2018 WL 1701994, at *3

                                  17    (M.D. Fla. Apr. 4, 2018) (Dalton, J.) (citing Posner v. Essex Ins. Co., Ltd., 178 F.3d 1209, 1214

                                  18    (11th Cir. 1999). When the complaint makes the prima facie showing, then the defendant may

                                  19    challenge personal jurisdiction by submitting sworn affidavits, testimony, or other evidence

                                  20    refuting the plaintiff’s claim of jurisdiction. E.g., Brennan v. Roman Catholic Diocese

                                  21    of Syracuse NY, Inc., 322 F. App’x 852, 854 (11th Cir. 2009). The burden shifts back to the

                                  22    plaintiff to evince personal jurisdiction only when the defendant meets his evidentiary burden.

                                  23    See, e.g., Louis Vuitton Malletier, S.A. v. Mosseri, 736 F.3d 1339, 1350 (11th Cir. 2013).

                                  24           B. Rule 12(b)(1): Subject Matter Jurisdiction.

                                  25           Where federal question jurisdiction exists, as here, Congress has authorized district

                                  26    courts to exercise discretion to assert supplemental jurisdiction “over all other claims that are so

                                  27    related to claims in the action within such original jurisdiction that they form part of the same

                                  28    case or controversy under Article III of the United States Constitution.” 28 U.S.C. § 1367(a). A

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                                   1    district court “may decline to exercise supplemental jurisdiction over a claim under subsection

                                   2    (a) if . . . the claim substantially predominates over the claim or claims over which the district

                                   3    court has original jurisdiction.” Id. § 1367(c)(2).

                                   4           C. Rule 12(b)(6): Failure To State A Claim Upon Which Relief Can Be Granted.

                                   5            To adequately plead a claim for relief, Rule 8(a)(2) only requires “a short and plain

                                   6    statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2).

                                   7    Under Rule 12(b)(6), a motion to dismiss should be granted only if the plaintiff is unable to

                                   8    articulate “enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v.

                                   9    Twombly, 550 U.S. 544, 570 (2007). “A claim has facial plausibility when the pleaded factual

                                  10    content allows the court to draw the reasonable inference that the defendant is liable for the

                                  11    misconduct alleged.” Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009) (citing Twombly, 550 U.S.
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                                  12    at 556). When determining whether a claim has facial plausibility, “a court must view a
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                                  13    complaint in the light most favorable to the plaintiff and accept all of the plaintiff’s well-pleaded

                                  14    facts as true.” Am. United Life Ins. Co. v. Martinez, 480 F.3d 1043, 1066 (11th Cir. 2007).

                                  15    IV.    ARGUMENT & AUTHORITIES

                                  16            The motion to dismiss is due to be denied for several reasons. The ABA Defendants

                                  17    have not controverted the personal jurisdiction allegations in the complaint. Supplemental

                                  18    jurisdiction exists because count III is borne from a common nucleus of fact with counts I and II.

                                  19    The complaint pleads a legal duty that the ABA Defendants both assumed and breached.

                                  20           A. The Complaint Pleads A Prima Facie Case Of In Personam Jurisdiction.

                                  21                1. The burden of production has not shifted to Plaintiffs because the ABA
                                                       Defendants have not presented a meritorious defense to personal jurisdiction with
                                  22                   any competent evidence.
                                  23            The Eleventh Circuit has long recognized that a nonresident defendant’s attempt to

                                  24    challenge a prima facie case of personal jurisdiction with “conclusory assertions of ultimate

                                  25    fact” is insufficient to shift to the plaintiff “the burden of producing evidence supporting

                                  26    jurisdiction.” 3 Posner, 178 F.3d at 1215. As the court is well-aware, the ABA Defendants’

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                                                3
                                                 This holding is consistent throughout Florida’s federal and state courts. See, e.g.,
                                  28    Andrew v. Radiancy, Inc., No. 6:16-cv-1061ORL37GJK, 2017 WL 2692840, at *2 (M.D. Fla.
                                        June 22, 2017) (citing Madara v. Hall, 916 F.2d 1510, 1514 (11th Cir. 1990)) (“If the complaint
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                                   1    motion to dismiss is unsupported by any evidence, see generally Doc. 86, so should the court

                                   2    determine that the second amended complaint makes a prima facie showing of personal

                                   3    jurisdiction, then the inquiry should end there because the ABA Defendants have not, and

                                   4    cannot, meet their burden of production by mere unsworn statements of counsel contained in a

                                   5    motion to dismiss. See, e.g., Bonilla v. Potter, No. 6:02-cv-762-ORL22KRS, 2004 WL

                                   6    1925051, at *5 (M.D. Fla. July 12, 2004), aff’d, 138 F. App’x 299 (11th Cir. 2005) (“Obviously,

                                   7    mere unsworn statements of counsel do not constitute evidence.”).

                                   8           A prima facie case is established if the plaintiff’s jurisdictional allegations are sufficient

                                   9    to withstand a motion for directed verdict, Meier ex rel. Meier v. Sun Int’l Hotels, Ltd., 288 F.3d

                                  10    1264, 1268–69 (11th Cir. 2002), and the district court must accept the facts alleged in the

                                  11    complaint as true, to the extent they are uncontroverted by the defendant’s affidavits,”
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                                  12    Madara, 916 F.2d at 1514. If any record evidence conflicts, the court must “construe all
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                                  13    reasonable inferences in favor of the plaintiff.” Meier, 288 F.3d at 1269. But where there is no

                                  14    counter-evidence on the record, it is axiomatic that the allegations of the complaint control

                                  15    because there is nothing that otherwise controverts them. See id.; see also, e.g., Barriere v.

                                  16    Juluca, No. 12-23510-CIV, 2014 WL 652831, at *4 (S.D. Fla. Feb. 19, 2014) (concluding that

                                  17    where defendant challenged personal jurisdiction but failed to support argument with evidence,

                                  18    the court “[wa]s left only with the allegations in the Plaintiffs’ Complaint”). 4

                                  19           Personal jurisdiction disputes are resolved through a burden-shifting framework. Indeed,

                                  20    Plaintiffs, as masters of the pleading, bear the initial burden of alleging the jurisdictional

                                  21    linchpin of the suit, whereas a defendant may rebut those allegations with evidence that volleys

                                  22

                                  23    states a prima facie case, then a defendant must support its Rule 12(b)(2) motion with non-
                                        conclusory affidavits.”) (Dalton, J.) (emphasis added); Pathman v. Grey Flannel Auctions, Inc.,
                                  24    741 F. Supp. 2d 1318, 1321 (S.D. Fla. 2010) (same proposition); Venetian Salami Co. v.
                                        Parthenais, 554 So. 2d 499, 502 (Fla. 1989) (same).
                                  25
                                               4
                                                  Accord Seven for All Mankind, LLC v. Grasty, No. 1:04-cv-3654-JTC, 2006 WL
                                  26    8431869, at *1 (N.D. Ga. Apr. 11, 2006) (noting that even though a defendant waived personal
                                        jurisdiction by filing a paper that the court construed as an answer and which did not challenge
                                  27    personal jurisdiction, nonetheless, even if there had been no waiver the defendant “failed to
                                        sufficiently controvert” the plaintiff’s prima facie case because he did “nothing more than
                                  28    generally deny the allegations of the complaint” and did not support his arguments with any
                                        evidence).
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                                   1    the burden back to the plaintiff. E.g., Brennan, 322 F. App’x at 854. But where, as here, the

                                   2    defendant fails to file any affidavits, testimony, or documents, then “it cannot be said that [the]

                                   3    Defendant raised a ‘meritorious’ defense to personal jurisdiction.” Barriere, 2014 WL 652831

                                   4    at *5. Barriere observed, as this court should, that the court must accept allegations in the

                                   5    complaint as fact, “absent any challenge that would shift the burden.” Id. The sole issue, then,

                                   6    is whether the complaint sufficiently alleges a prima facie case showing personal jurisdiction.

                                   7               2. The exercise of general jurisdiction over the ABA Defendants is constitutionally
                                                      proper because the ABA Defendants have both continuous and systematic
                                   8                  contacts with Florida.
                                   9            Because specific jurisdiction is subsumed by general jurisdiction, the court should first

                                  10    examine general jurisdiction. “While Florida’s specific jurisdiction requires the plaintiff to

                                  11    establish connexity between the injuries suffered and the defendant’s contacts, Florida’s general
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                                  12    jurisdiction does not.” Carmouche v. Carnival Corp., 36 F. Supp. 3d 1335, 1341 (S.D. Fla.
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                                  13    2014), aff’d sub nom. Carmouche v. Tamborlee Mgmt., Inc., 789 F.3d 1201 (11th Cir. 2015).

                                  14    Under Florida’s long-arm statute, “[a] defendant who is engaged in substantial and not isolated

                                  15    activity within this state, whether such activity is wholly interstate, instrastate, or otherwise, is

                                  16    subject to the jurisdiction of the courts of this state, whether or not the claim arises from that

                                  17    activity.” § 48.193(2), Fla. Stat. The reach of this provision extends to the limits imposed by

                                  18    the United States Constitution and, therefore, to determine general jurisdiction, this court need

                                  19    only determine whether an exercise of personal jurisdiction over the ABA Defendants “would

                                  20    exceed constitutional bounds.” Fraser v. Smith, 594 F.3d 842, 846 (11th Cir. 2010).

                                  21            “A court may assert general jurisdiction over foreign . . . corporations . . . when their

                                  22    affiliations with the State are so ‘continuous and systematic’ as to render them essentially at

                                  23    home in the foreign State.” Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915,

                                  24    919 (2011). “[O]nly a limited set of affiliations with a forum will render a defendant amenable

                                  25    to all-purpose jurisdiction there”—the paradigm all-purpose forums for general jurisdiction are a

                                  26    corporation’s place of incorporation and principal place of business. Daimler AG v. Bauman,

                                  27    571 U.S. 117, 137 (2014).

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                                   1           Nonetheless, post-Daimler, Florida courts have rejected the notion that defendants may

                                   2    only be sued in their states of incorporation and principal places of business. See Barriere, 2014

                                   3    WL 652831 at *7 (“While the Court did not expand on the specifics, it noted that it would be

                                   4    possible for a corporation to be ‘at home’ in places outside of its place of incorporation or

                                   5    principal place of business.”) (citing Daimler, 571 U.S. at 138). Significantly, Daimler neither

                                   6    overruled nor abrogated Goodyear. Instead, Daimler reaffirmed Goodyear’s standard that

                                   7    “general jurisdiction is proper when a corporation’s affiliations with the state are so continuous

                                   8    and systematic as to render them at home in the forum state.” Am. Fid. Assur. Co. v. Bank of

                                   9    New York Mellon, 810 F.3d 1234, 1241 (10th Cir. 2016), cert. denied, 137 S. Ct. 90 (2016).

                                  10    Since Daimler, the Eleventh Circuit has clarified that a foreign corporation can be subjected

                                  11    to general jurisdiction when the corporation’s activities in the forum closely approximate the
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                                  12    activities that ordinarily characterize a corporation’s place of incorporation or principal place of
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                                  13    business. Carmouche, 789 F.3d at 1205. 5 To qualify as “at home,” the ABA Defendants must

                                  14    be comparable to a domestic enterprise in Florida. Daimler, 571 U.S. at 133.

                                  15           The second amended complaint supports general jurisdiction. Bernier and Love allege

                                  16    that the ABA Defendants have “continuous and systematic contacts with Florida through

                                  17    business relationships with multiple law schools located in Florida” and that the ABA

                                  18    Defendants derive “significant fees from law schools in Florida in exchange for undergoing the

                                  19    law school accreditation process.” Doc. 73 at 4. None of this is controverted by the ABA

                                  20    Defendants with any evidence, so the ABA Defendants’ argument in a legal brief cannot,

                                  21    without more, override the jurisdictional allegations in the complaint. See generally Doc. 86.

                                  22    “A lack of personal jurisdiction may be waived by the affected party.” Kinsman v. Florida State

                                  23    Univ. Bd. of Trustees, No. 6:15-cv-16-ORL-31KRS, 2015 WL 11110542, at *1 (M.D. Fla. Apr.

                                  24    27, 2015). Effectively, the ABA Defendants have waived the defense by failing to defend it.

                                  25

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                                  27           5
                                                  This court’s sister courts have endorsed the Carmouche standard. See, e.g.,
                                        www.Turnstiles.us, Inc. v. Modular Sec. Sys., Inc., No. 15-cv-1806-RM-MEH, 2016 WL
                                  28    9735764, at *5 (D. Colo. June 28, 2016) (“[T]his Court finds the Eleventh Circuit’s explanation
                                        of the “at home” test in Carmouche the most helpful.”).
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                                   1            What is more, as admitted by the ABA’s own website, the ABA Defendants currently

                                   2    accredit eleven (11) Florida law schools. 6 Florida holds the third highest number of accredited

                                   3    law schools in the nation, and indeed the ABA Defendants have regulatory oversight over more

                                   4    law schools in Florida than in Illinois, their state of incorporation, or North Carolina, where

                                   5    CSOL was located. See supra, note 6. In Florida, the ABA Defendants’ corporate activity

                                   6    arises from the very core of why they were organized as an entity: to serve as an accreditor for

                                   7    law schools. In other words, in Florida, the ABA Defendants are performing the same tasks as

                                   8    they do in Illinois, which include both continuous and systematic contact with eleven law

                                   9    schools, as well as with the Florida Bar. Given that the ABA Defendants regulate more law

                                  10    schools in Florida than in Illinois, their Florida corporate activities “closely approximate the

                                  11    activities” that ordinarily characterize their place of incorporation or principal place of business.
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                                  12    See Carmouche, 789 F.3d at 1205. Undeniably, the ABA Defendants purposefully direct their
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                                  13    activities at the State of Florida.

                                  14            The general jurisdiction cases on which the ABA Defendants rely are not sufficiently

                                  15    analogous to apply. See Doc. 86 at 7–8 (discussing Daimler, Goodyear, Wolfe, and Schulman).

                                  16    In those cases, unlike here, the defendants actually challenged personal jurisdiction with

                                  17    counter-evidence. See Daimler, 571 U.S. at 148 (referencing declaration record submitted by

                                  18    defendant to challenge personal jurisdiction); Brown v. Meter, 681 S.E.2d 382, 384 (N.C. Ct.

                                  19    App. 2009), rev’d sub nom. Goodyear, 564 U.S. 915 (U.S. 2011) (“The dismissal motions filed

                                  20    by Defendants and other Goodyear affiliates were supported by affidavits . . . .”); Wolf v.

                                  21    Celebrity Cruises, Inc., 683 Fed. Appx. 786, 790–91 (11th Cir. 2017) (noting that in objecting to

                                  22    personal jurisdiction, the defendant attached a declaration of one of its shareholders to controvert

                                  23    the jurisdictional allegations); Schulman v. Glob. Citizens Travel, LLC, No. 13-cv-23766, 2015

                                  24

                                  25            6
                                                  See American Bar Association, Schools by State,
                                        https://www.americanbar.org/groups/probono_public_service/resources/directory_of_law_schoo
                                  26    l_public_interest_pro_bono_programs/schools_by_state.html (last visited June 12, 2018). This
                                        court may consider information contained on the ABA Defendants’ own website in resolving the
                                  27    personal jurisdiction dispute. Bauman v. DaimlerChrysler AG, No. C-04-00194 RMW, 2005
                                        WL 3157472, at *5 (N.D. Cal. Nov. 22, 2005) (“The court will consider plaintiffs’ evidence
                                  28    printed from the DaimlerChrysler and MBUSA websites for the purpose of determining the
                                        existence of personal jurisdiction.”); see also supra, note 1.
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                                   1     WL 11018438, at *2 (S.D. Fla. Jan. 20, 2015) (referencing declaration record submitted by

                                   2     defendant to challenge personal jurisdiction), aff’d sub nom. Schulman v. Inst. for Shipboard

                                   3     Educ., 624 Fed. Appx. 1002 (11th Cir. 2015).

                                   4             The ABA Defendants’ activity in Florida is not insubstantial or isolated. Instead it

                                   5     mirrors, if not exceeds, the same type of corporate activities that they conduct in Illinois.

                                   6                3. The exercise of specific jurisdiction over the ABA Defendants is constitutionally
                                                       proper because the ABA Defendants have minimum contacts with Florida and the
                                   7                   exercise of jurisdiction would not offend fair play and substantial justice.
                                   8             There are two requirements for a prima facie case under the specific jurisdiction analysis:

                                   9     (1) first, a basis for jurisdiction must exist under Florida’s Long-Arm Statute, Fla. Stat. § 48.193;

                                  10     and (2) second, the defendants’ contacts with Florida must be sufficient to satisfy the Due

                                  11     Process Clause. Mutual Serv. Ins. Co. v. Frit Indus., Inc., 358 F.3d 1312, 1319 (11th Cir. 2004).
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                                  12     There is a specific jurisdiction basis in this case because in Florida, an out-of-state defendant
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                                  13     submits himself to the specific jurisdiction of the Florida courts when, inter alia, he operates,

                                  14     conducts, engages in, or carries on a business in Florida, § 48.193(1)(a)(1); commits a tortious

                                  15     act in Florida, id. at § (1)(a)(2); or causes injury to persons in Florida arising by an act or

                                  16     omission outside of Florida, id. at § (1)(a)(6). The second amended complaint alleges that the

                                  17     ABA Defendants committed a tortious act in Florida or caused injury in Florida from an act or

                                  18     omission outside of Florida. See Doc. 73 at 5. Bernier and Love are not required to supplant

                                  19     this allegation with additional evidence because the ABA Defendants have not controverted it.

                                  20             The inquiry, then, all boils down to whether the ABA Defendants have sufficient

                                  21     minimum contacts with Florida “such that the maintenance of the suit does not offend

                                  22     ‘traditional notions of fair play and substantial justice.’” Int’l Shoe Co. v. Washington, 326 U.S.

                                  23     310, 316 (1945) (quoting Milliken v. Meyer, 311 U.S. 457, 463 (1940)). For specific

                                  24     jurisdiction, there must be “an affiliation between the forum and the underlying controversy,

                                  25     principally, [an] activity or an occurrence that takes place in the forum State and is therefore

                                  26     subject to the State’s regulation.” Goodyear, 564 U.S. at 919 (internal quotation marks and

                                  27     brackets omitted). For this reason, “specific jurisdiction is confined to adjudication of issues

                                  28     deriving from, or connected with, the very controversy that establishes jurisdiction.” Id.

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                                   1            The ABA Defendants have maintained minimum contacts with Florida and this district

                                   2     through, inter alia, relationships with both Dennis Archer and Jay Conison, both of whom

                                   3     serve/served in positions focused on accreditation in the Section of Legal Education and

                                   4     Admissions to the Bar, all while sitting on the Board of Infilaw. See Doc. 73 at 8. The ABA

                                   5     Defendants thus derived a benefit from a Florida corporation in exchange for services relating to

                                   6     accreditation. In addition, Infilaw controlled all managerial and financial aid decisions at CSOL.

                                   7     Id. at 9. Based on this allegation, Bernier and Love are entitled to the inference that when the

                                   8     ABA Defendants interfaced with CSOL, in reality, they interfaced with Infilaw who is

                                   9     headquartered in Florida.

                                  10            B. There Is A Common Nucleus Of Fact To Support Supplemental Jurisdiction.

                                  11            Although the ABA Defendants argue that count III of the second amended complaint is
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                                  12     “unconnected” to the FCA claims against the remaining Defendants, Doc. 86 at 12, the fallacy of
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                                  13     this position is that but for a favorable accreditation decision by the ABA Defendants to anoint

                                  14     CSOL as a qualified institution, see Doc. 73 at 6, then the Infilaw Defendants could never have

                                  15     qualified for Title IV student loan funds from the DOE, id. Stated another way, due to

                                  16     accreditation, the ABA Defendants opened the door and herded a fox into the henhouse.

                                  17            Where federal question jurisdiction exists, as here, a district court may exercise

                                  18     “supplemental jurisdiction over all other claims that are so related to claims” within the court’s

                                  19     federal question jurisdiction “that they form part of the same case or controversy under Article

                                  20     III of the United States Constitution.” See 28 U.S.C. § 1367. Section 1367(a) gives courts “the

                                  21     power to exercise supplemental jurisdiction over all claims that arise out of a common nucleus

                                  22     of operative fact with a substantial federal claim.” Tamiami Partners, Ltd. ex rel. Tamiami Dev.

                                  23     Corp. v. Miccosukee Tribe of Indians of Fla., 177 F.3d 1212, 1223 (11th Cir. 1999) (quotation

                                  24     marks omitted); see also United Mine Workers of Am. v. Gibbs, 383 U.S. 715, 725 (1966) (“The

                                  25     state and federal claims must derive from a common nucleus of operative fact.”).

                                  26            Claims arising from a “common nucleus of operative facts” generally involve “the same

                                  27     witnesses, presentation of the same evidence, and determination of the same, or very similar

                                  28     facts.” Palmer v Hosp. Auth. of Randolph Cty., 22 F.3d 1559, 1563–64 (11th Cir. 1994); but

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                                   1     see, e.g., Palazon v. KFC Nat. Mgmt. Co., No. 80 C 4916, 1981 WL 376, at *2 (N.D. Ill. Feb.

                                   2     17, 1981) (“The court does not believe Gibbs’ requirement of a common nucleus of operative

                                   3     facts dictates that the facts giving rise to the state and federal cause of action be identical.”).

                                   4             Supplemental jurisdiction requires a court to compare “the nucleus of facts on which

                                   5     the federal question claims are based” and “the nucleus of facts on which the state law claims are

                                   6     based.” Upper Chattahoochee Riverkeeper Fund v. City of Atlanta, 701 F.3d 669, 679 (11th Cir.

                                   7     2012). The Eleventh Circuit has cautioned that district courts are not to look at “the results that

                                   8     may flow from the implications of finding that supplemental jurisdiction does not exist” because

                                   9     “[i]t is not a results-oriented analysis, but a fact-oriented one.” Id.; see also Kaney v. Was, No.

                                  10     6:17-cv-185ORL37GJK, 2017 WL 765388, at *3 (M.D. Fla. Feb. 28, 2017) (relying on Upper

                                  11     Chattahoochee Riverkeeper Fund and exercising supplemental jurisdiction) (Dalton, J.). Thus,
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                                  12     framed correctly, this court must determine whether the factual allegations that embrace counts
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                                  13     I, II, and III arise out of a common nucleus of operative facts. See Kaney, 2017 WL 765388 at

                                  14     *3. There is such a shared nucleus for the reasons explained below.

                                  15             Count III of the second amended complaint incorporates the same factual allegations into

                                  16     that count that are incorporated into counts I and II, both of which allege violations of the FCA.

                                  17     Compare Doc. 73 at 21 with id. at 14, 20. The negligence claim of count III arises from a

                                  18     common nucleus of operative facts with the FCA claims of counts I and II because compliance

                                  19     with Title IV of the HEA is the factual predicate on which all claims rest. Simply put, the ABA

                                  20     Defendants and the Infilaw Defendants occupy different sides of the same accreditation coin,

                                  21     and similar orders of proof apply to counts I, II, and III. 7

                                  22             To become the recognized accreditor for legal education, the ABA Defendants had to

                                  23     meet all criteria for recognition listed in Subpart B of Title 34 of the Code of Federal

                                  24     Regulations. 34 C.F.R. § 602.1. Under federal law, accreditation is a required element” in

                                  25     enabling law schools “to establish eligibility to participate in HEA programs.” 34 C.F.R. §

                                  26
                                                 7
                                                  Ironically, as the ABA Defendants highlight, this court previously relied on documents
                                  27     submitted by the Infilaw Defendants to conclude that, based on those documents, the Infilaw
                                         Defendants “knowingly deceived” the ABA. Doc. 86 at 5. This alone evinces the common
                                  28     factual predicate between the defendants in this action, as the ABA Defendants might choose to
                                         cross-claim against the Infilaw Defendants to avoid liability.
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                                   1     602.10. And before being ordained as the recognized accreditor, the ABA Defendants had to

                                   2     “demonstrate that [they have] standards for accreditation, and preaccreditation, . . . that are

                                   3     sufficiently rigorous to ensure that the [ABA Defendants are] a reliable authority regarding the

                                   4     quality of the education or training provided.” 34 C.F.R. § 602.16.

                                   5            On the other side of the coin, the Infilaw Defendants agreed to adhere to the “standards

                                   6     for accreditation,” see 34 C.F.R. § 602.16, established by the ABA Defendants. The reason for

                                   7     this is obvious: it was the only viable path to delve into the federal coffers. The Infilaw

                                   8     Defendants’ agreement to be bound to the ABA Defendants’ standards for accreditation is

                                   9     memorialized in the PPA, wherein the Infilaw Defendants represented to the Secretary of

                                  10     Education that they would “meet the requirements established pursuant to Part H of Title IV of

                                  11     the HEA by the Secretary and nationally recognized accrediting agencies.” Doc. 73-1 at 6.
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                                  12            Taken as a whole, counts I, II, and III will all necessarily turn on the determination of the
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                                  13     same or similar facts as to whether the ABA Defendants and the Infilaw Defendants complied

                                  14     with their obligations under Title IV of the HEA. Bernier and Love anticipate that the same, or

                                  15     many of the same, witnesses interfaced with the DOE who knew that CSOL failed to disclose

                                  16     material noncompliance with accreditation standards, Doc. 73 at 14, and that those same

                                  17     witnesses also interfaced with representatives of the ABA Defendants, which such

                                  18     representatives failed to ensure that CSOL was in compliance with accreditation standards, Doc.

                                  19     73 at 22. Thus, the presentation of the same set of facts from the same witnesses will have

                                  20     simultaneous evidentiary effect on counts I, II, and III.

                                  21            The ABA Defendants rely on inapposite supplemental jurisdiction cases where a

                                  22     plaintiff’s state law claims predominated the federal claims, which is distinguishable from the

                                  23     facts here. Gibbs and its progeny stands for the proposition that “if, considered without regard

                                  24     to their federal or state character, a plaintiff’s claims are such that he would ordinarily be

                                  25     expected to try them all in one judicial proceeding, then, assuming substantiality of the federal

                                  26     issues, there is power in federal courts to hear the whole.” Gibbs, 383 U.S. at 725. Whereas in

                                  27     this case, federal issues predominate because counts I and II, the FCA claims, are the heart of

                                  28

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                                   1     this action. See generally Doc. 73. Bernier and Love have also invoked federal, not diversity,

                                   2     jurisdiction in this case, which suggests that the action is predominately federal in nature.

                                   3            Roper v. Edwards, 815 F.2d 1474, 1477 (11th Cir. 1987), one of only two cases on which

                                   4     the ABA Defendants rely, is not helpful to the supplemental jurisdiction analysis. There, the

                                   5     Eleventh Circuit affirmed the district court’s decision to decline to exercise jurisdiction. Id.

                                   6     Importantly, the Roper court so affirmed for two reasons. First, given that the case sounded in

                                   7     federal civil rights, Roper relied on Aldinger v. Howard, 427 U.S. 1, 17 (1976), to find that

                                   8     under that case, “pendent party jurisdiction is inappropriate in civil rights cases.” Roper, 815

                                   9     F.2d at 1477. There are no federal civil rights claims in this case.

                                  10            Second, the Roper court, relying on Gibbs, found it significant that the plaintiff only

                                  11     presented “one viable federal claim, and seven counts” under state law. Roper, 815 F.2d at
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                                  12     1477. Compounding matters further, the state law claims in Roper, which ranged from breach of
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                                  13     contract to intentional infliction of emotional distress were “totally distinct” from the federal

                                  14     civil rights claim. Id. at 1476–1477. But in this case, the same factual issues surrounding Title

                                  15     IV and accreditation will touch both the ABA Defendants and the Infilaw Defendants. The

                                  16     overlapping of common facts is the quintessential example of claims that “would ordinarily be

                                  17     expected to [be] tr[ied] . . . all in one judicial proceeding.” Gibbs, 383 U.S. at 725.

                                  18            One final point warrants brief discussion. The ABA Defendants find significant that

                                  19     Bernier and Love, as they say, “litigated this matter for two years” before adding the ABA

                                  20     Defendants. Doc. 86 at 12. To be clear, the complaint was sealed until August 2017, as was

                                  21     legally required by the FCA. See 31 U.S.C. § 3730(b)(2). During the seal, Bernier was

                                  22     prohibited from even acknowledging the existence of this case. See id. The claim against the

                                  23     ABA Defendants is not borne from the FCA, so even if the negligence claim had been alleged in

                                  24     the initial complaint, Bernier and Love could have done nothing with that claim because of the

                                  25     seal. See id. In short, the court should find that it has supplemental jurisdiction over count III.

                                  26            C. The Complaint Pleads A Cognizable Legal Duty.

                                  27                1. The ABA Defendants voluntarily assumed a duty to serve as a reliable authority
                                                       for law school accreditation and reliance defines to whom the duty is owed.
                                  28

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                                   1            Congress passed the HEA in 1965. See Higher Education Act of 1965, Pub. L. No. 89-

                                   2     329, 79 Stat. 1219. The HEA is composed of Titles I–VII, but for purposes of this action, the

                                   3     most significant part of the HEA is Title IV. See 20 U.S.C. § 1070. Title IV provides financial

                                   4     aid funds directly to students to pursue higher education. See id. To be eligible for financial aid,

                                   5     an institution must be accredited by an agency who is recognized by Secretary of the DOE. See

                                   6     20 U.S.C. § 1002(b)(1)(A)(ii)(II). As relevant here, the ABA Defendants are the accreditation

                                   7     agency at issue in count III of the second amended complaint. Doc. 73 at 6.

                                   8            The HEA is implemented through Title 34, Subtitle B, Chapter VI of the Code of Federal

                                   9     Regulations. Under administrative regulations, the ABA Defendants agreed to develop

                                  10     standards for accreditation, including consideration of State licensing examinations, course

                                  11     completion, job placement rates, and student services, 34 C.F.R. § 602.16; to apply those
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                                  12     standards, id. at § 602.17; and, to review the application of those standards, id. at § 602.21. The
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                                  13     Secretary of Education recognizes the ABA Defendants as an accreditor to ensure that they are

                                  14     “reliable authorities regarding the quality of education or training offered by the institutions

                                  15     or programs they accredit.” Id. at § 602.1 (emphasis added).

                                  16            The sole purpose of accreditation—for a law school or otherwise—is to create a standard

                                  17     on which the public can rely, as aptly observed by one of the first courts to address the issue:

                                  18                    [A]ccreditation itself is a continuing stamp of approval . . . . It is a
                                                        continuous holding out by [an accreditor] that a school meets its standards.
                                  19                    [The accreditor] allows their seal to be used by schools accredited by it in
                                                        their bulletins and advertising, knowing the public will see it and rely on
                                  20                    it. This accreditation is relied on by many students in making their
                                                        selection of a school to attend. It is also the basis and condition precedent
                                  21                    to the making of thousands of dollars of student loans . . . .
                                  22     Jacobs v. Ass’n of Indep. Colleges & Sch., 219 S.E.2d 837, 839 (S.C. 1975) (emphasis added).

                                  23     Reliance plays two roles in a negligence claim. First, reliance helps to define to whom a duty is

                                  24     owed. As the Restatement suggests, the duty of care is defined not only by intentions, but also

                                  25     by the foreseeability of the reliance of persons on the disseminated information. See

                                  26     Restatement (Second) of Torts § 552. Second, an entirely different aspect of reliance is its role

                                  27     in determining causation. As this court is well-aware, to prevail in a negligence action Bernier

                                  28

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                                   1     and Love must not only show that the ABA Defendants owed a duty of care and that duty was

                                   2     breached, but also that their negligence was the proximate cause of Bernier and Love’s injury.

                                   3             Negligence includes “a violation of any . . . statute which establishes a duty to take

                                   4     precautions to protect a particular class of persons from a particular injury or type of injury.”

                                   5     Dimattina v. Westgate Resorts, Ltd., No. 8:17-cv-840-T-23JSS, 2018 WL 560665, at *1 (M.D.

                                   6     Fla. Jan. 25, 2018) (quoting DeJesus v. Seaboard Coast R.R. Co., 281 So.2d 198, 201 (Fla.

                                   7     1973)). “One who undertakes to perform a task must perform it in a non-negligent manner.” 8

                                   8     Crockett v. Uniroyal, Inc., 772 F.2d 1524, 1531 (11th Cir. 1985); see also Restatement (Second)

                                   9     of Torts § 324A (explaining that one who undertakes to render services for which he should

                                  10     recognize as necessary to protect a third person is subject to liability if (i) his failure to exercise

                                  11     reasonable care increases risk of harm; (ii) he has undertaken a duty to perform owed to a third
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                                  12     person; or (iii) harm is suffered because of reliance upon the undertaking).
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                                  13             The ABA Defendants’ papers do not address, with argument, the allegation that they

                                  14     voluntarily undertook a duty on behalf of Bernier and Love to certify the competency, authority,

                                  15     and credibility of CSOL to provide legal education commensurate with the obligations set forth

                                  16     in Title IV of the HEA. See Doc. 73 at 21–22. The undertaker’s doctrine is deeply rooted in

                                  17     American jurisprudence. It provides as follows:

                                  18                    Whenever one undertakes to provide a service to others, whether one does
                                                        so gratuitously or by contract, the individual who undertakes to provide
                                  19                    the service-i.e., the “undertaker”-thereby assumes a duty to act carefully
                                                        and to not put others at an undue risk of harm. This maxim, termed the
                                  20                    “undertaker’s doctrine,” applies to both governmental and
                                                        nongovernmental entities. The doctrine further applies not just to parties
                                  21                    in privity with one another-i.e., the parties directly involved in an
                                                        agreement or undertaking-but also to third parties.
                                  22
                                         Osorio v. United States, No. 08-80459-CIV, 2010 WL 3282572, at *4–5 (S.D. Fla. Aug. 19,
                                  23
                                         2010) (citing Clay Elec. Co-op., Inc. v. Johnson, 873 So.2d 1182, 1186 (Fla. 2003)). “Florida
                                  24

                                  25
                                                 8
                                                  This is also the law in both Illinois and North Carolina. See, e.g., Stopka v. Am. Family
                                  26     Mut. Ins. Co., Inc., No. 10 C 6034, 2012 WL 2115495, at *11 (N.D. Ill. June 7, 2012) (“When a
                                         party voluntarily undertakes to act, it becomes subject to liability in negligence if it fails to
                                  27     exercise due care in the performance of that undertaking.”) (external citations omitted);
                                         Mynhardt v. Elon Univ., 725 S.E.2d 632, 635 (N.C. Ct. App. 2012) (“The voluntary undertaking
                                  28     theory has been consistently recognized in North Carolina.”). Thus, Florida, Illinois, and North
                                         Carolina case law are all equally persuasive to this court’s analysis.
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                                   1     courts have applied the doctrine to a variety of third-party, contract-based negligence claims and

                                   2     ruled that the defendants could be held liable, notwithstanding a lack of privity.” Clay Elec. Co-

                                   3     op., 873 So.2d at 1186 (examining and applying Restatement (Second) of Torts § 324A).

                                   4             “Clearly, Congress intended for the HEA to benefit students.” McCulloch v. PNC Bank

                                   5     Inc., 298 F.3d 1217, 1222 (11th Cir. 2002) (citing 20 U.S.C. § 1071(a)(1)(B)). Students are

                                   6     precisely the class of persons that the HEA was implemented to protect. See id. The ABA

                                   7     Defendants are a quasi-public organization tasked with the role of gatekeeper to Title IV student

                                   8     funds under the HEA. The federal government did not require the ABA Defendants to fulfill the

                                   9     role of an accrediting agency for law schools; rather, the ABA Defendants assumed this role by

                                  10     their own volition. Indeed, the ABA Defendants’ Bylaws show that their purpose is to “be a

                                  11     creative national force in providing leadership and services to those responsible for and those
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                                  12     who benefit from a sound program of legal education and bar admissions.” 9 Thus, accreditation
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                                  13     is designed to benefit prospective students who seek to attain the title of attorney, not to benefit

                                  14     institutions; for institutions without students are not institutions at all.

                                  15             The ABA Defendants’ argument against a legal duty is not new: it is the same argument

                                  16     that invokes the same few cases on the issue that has been argued before. But there are facts in

                                  17     this case that are unlike those heretofore that have percolated through the courts. For starters, as

                                  18     stated, this case concerns Title IV of the HEA. Ambrose and Tillitz are not Title IV cases and,

                                  19     by extension, the policy rationales in those cases are not co-extensive with those in this case. 10
                                                              11
                                  20     And while Gabriel         did concern a recognized accreditor under the HEA, the Accreditation

                                  21     Council for Pharmacy Education (“ACPE”), the DOE has made clear that accreditation by the

                                  22     ACPE “does not enable the entities it accredits to establish eligibility to participate in Title IV

                                  23
                                                 9
                                                  See Section of Legal Education and Admissions to the Bar, Section Bylaws,
                                  24     https://www.americanbar.org/content/dam/aba/administrative/legal_education_and_admissions_
                                         to_the_bar/council_reports_and_resolutions/2010801_legal_education_bylaws_approved.authch
                                  25     eckdam.pdf (last visited June 8, 2018); see also supra, note 1.
                                  26             10
                                                   Ambrose v. New England Ass’n of Sch. & Colleges, Inc., 252 F.3d 488, 491 (1st Cir.
                                         2001); Tillitz v. Am. Corr. Ass’n, No. CIV.03-1470-HA, 2004 WL 2203275, at *1 (D. Or. Sept.
                                  27     29, 2004).
                                  28             11
                                                  Gabriel v. Albany Coll. of Pharmacy & Health Scis. - Vermont Campus, No. 2:12-cv-
                                         14, 2013 WL 4456690, at *1 (D. Vt. Aug. 16, 2013).
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                                   1     programs.” 12 As noted, it is through Title IV that the Secretary of Education recognizes the

                                   2     ABA Defendants as “reliable authorities regarding the quality of education or training offered by

                                   3     the institutions or programs they accredit.” 34 C.F.R. § 602.1.

                                   4            Another distinction is that none of the cases on which the ABA Defendants rely—

                                   5     Ambrose, Keams, Gabriel, and Tillitz—concerned accreditors for a professional license, such as

                                   6     a law license, and none of the underlying institutions in those cases lost accreditation, like

                                   7     here. 13 This is critical. Law students’ ascension to the practice of law has a unique requirement:

                                   8     the bar exam. Prospective lawyers in forty-six (46) States cannot sit for the bar exam unless

                                   9     they have graduated from a law school accredited by the ABA Defendants. 14 No reasonable law

                                  10     student who knows he or she wants to practice law in a State that requires graduation from an

                                  11     ABA-approved law school as a condition to take the bar exam willingly attends such a school.
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                                  12     As an aside, there is no other accreditor for law schools on which students can rely: for better or
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                                  13     worse, the ABA Defendants are the accreditor.

                                  14            Reliance is front and center in this case, unlike in Ambrose, Keams, Gabriel, and Tillitz

                                  15     where it played a secondary role. In fact, those decisions demonstrate the sheer importance of

                                  16     reliance to their holdings. Ambrose, for example, stated that the appellants “failed to show that

                                  17     they had relied justifiably on the accreditation statements” at issue. Ambrose, 252 F.3d at 491.

                                  18     Here, the second amended complaint shows that Bernier and Love both gave up a tenured career

                                  19     to teach law at CSOL (Bernier) and agreed to amass hundreds of thousands of dollars in non-

                                  20     dischargeable debt (Love), all because of the badge of ABA-accreditation that ultimately became

                                  21     a precipice. See Doc. 73 at 21–23. Ambrose also noted that one of the students there, despite

                                  22     that the associates degree program in which she participated did not include a clinical program,

                                  23     was still able to gain employment as a medical assistant. Ambrose, 252 F.3d at 490. By

                                  24
                                                12
                                                 See U.S. Department of Education, Database of Accredited Postsecondary Institutions
                                  25     and Programs, https://ope.ed.gov/accreditation/agencies.aspx (last visited June 10, 2018).
                                  26            13
                                                     Keams v. Tempe Tech. Inst., Inc., 110 F.3d 44, 46 (9th Cir. 1997).
                                  27            14
                                                   See American Bar Association, About Us,
                                         https://www.americanbar.org/groups/legal_education/about_us.html (last visited June 11, 2018)
                                  28     (“[F]orty-six states limit eligibility for bar admission to graduates of ABA-approved schools.”);
                                         see also supra, note 1.
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                                   1     contrast, Love cannot gain employment as an attorney without succeeding on the bar exam,

                                   2     which carries with it as a condition precedent the requirement of an ABA-approved juris doctor.

                                   3             Tillitz is also illustrative. There, an inmate sued the American Correctional Association

                                   4     (“ACA”) for negligently certifying that the institution where he was incarcerated was in

                                   5     compliance with ACA standards, which in that case were directed to the issue of overcrowding.

                                   6     Tillitz, 2004 WL 2203275 at *1. Right out of the gate, it is clear that Tillitz has no application

                                   7     here. The Tillitz plaintiff alleged that the “bogus accreditation” allowed the correctional

                                   8     institution to overpopulate. Tillitz, 2004 WL 2203275 at *3. The Tillitz court, relying on

                                   9     Reams, held that in both cases, the defendant did not provide accreditation to “induce any

                                  10     reliance” on the plaintiff’s part and that the information provided by the defendant was not

                                  11     intended to “benefit or guide” the plaintiff. 15 Id. at *4. Applying the Tillitz holding to this case
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                                  12     yields the opposite result because the ABA seal-of-approval on law schools does induce reliance
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                                  13     by law students that attaining a juris doctor there will satisfy a crucial prerequisite to sit for the

                                  14     bar exam. In this way, the ABA seal-of-approval on law schools benefits or guides law students.

                                  15                  2. The ABA Defendants breached the duty owed by failing to enforce their
                                                         accreditation standards upon which faculty and students relied.
                                  16

                                  17             The ABA Defendants—ostensibly unsatisfied that Bernier and Love satisfied Rule 8—

                                  18     appear to urge this court to impose some level of heightened pleading on the breach of duty

                                  19     element of count III, akin to what is required under Rule 9. See Doc. 86 at 19. This is shown by

                                  20     the ABA Defendants’ insistence that Bernier and Love are required to plead what a reasonable

                                  21     accreditor in their shoes should have done, what they did, and exactly how they failed to act as a

                                  22     reasonable accreditor. Id. But this is precisely the type of particularity that is reserved for

                                  23     claims sounding in fraud, which is not what count III alleges. E.g., Garfield v. NDC Health

                                  24     Corp., 466 F.3d 1255, 1262 (11th Cir. 2006) (recognizing that heightened pleading means

                                  25     “the who, what, when[,] where, and how: the first paragraph of any newspaper story”).

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                                                   Of course, it would be most unusual for a person to rely on the lack of overcrowding at
                                  28     a correctional institution before then deciding to commit a crime that would ultimately cause
                                         him to be housed there.
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                                   1            Rule 8, which is what applies to count III, requires nothing more than that Bernier and

                                   2     Love plead “a short and plain statement” of their claim. See Fed. R. Civ. P. 8(a); see also Sams

                                   3     v. United Food & Commercial Workers Intern. Union, AFL-CIO, CLC, 866 F.2d 1380, 1384

                                   4     (11th Cir. 1989) (“A complaint need not specify in detail the precise theory giving rise to

                                   5     recovery. All that is required is that the defendant be on notice as to the claim being asserted

                                   6     against him and the grounds on which it rests.”). Bernier and Love are not required to come

                                   7     forth “with evidence in the record specifically demonstrating the facts underlying the pleadings

                                   8     until the summary judgment stage.” N. Am. Clearing, Inc. v. Brokerage Computer Sys., Inc.,

                                   9     No. 6:07-cv-1503ORL19KRS, 2009 WL 10671220, at *3 (M.D. Fla. Mar. 31, 2009) (emphasis

                                  10     added). It is not clear why count III that also incorporates the general allegations of the second

                                  11     amended complaint does not give the ABA Defendants fair notice of the negligence claim given
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                                  12     that Bernier and Love specifically allege that the ABA Defendants breached the duty owed by
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                                  13     failing to enforce their own accreditation standards.

                                  14            Bernier and Love pause here to underscore an important point. Count III does not ask

                                  15     this court to evaluate technical details of the ABA Defendants’ accreditation decision as to

                                  16     CSOL such as whether its professors were academically effective, whether its curriculum was

                                  17     rich with sophisticated principles of law, nor whether the school had a robust alumni network to

                                  18     assist with job placement. Instead, count III, as alleged in the second amended complaint, is

                                  19     focused on whether the ABA Defendants’ followed the accreditation process, as outlined in their

                                  20     own accreditation standards. See Doc. 73 at 22.

                                  21            D. Bernier And Love Properly Filed Count III With Leave Of Court.

                                  22            If the ABA Defendants cannot obtain dismissal of count III on substantive grounds, then

                                  23     they urge this court to dismiss procedurally. True, the ABA Defendants correctly point to the

                                  24     court’s scheduling order, which states that, “[t]he Court will strictly enforce the deadlines set in

                                  25     this CMSO. Such deadlines are effective unless modified by a written Order.” See Doc. 43 at 2

                                  26     (emphasis added). What the ABA Defendants choose to ignore, however, is that the court also

                                  27     dismissed the amended complaint, Doc. 71 at 20, and ordered that, “[o]n or before Monday, May

                                  28     7, 2018, Plaintiff may file a second amended complaint.” (emphasis added). In so doing, this

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                                   1     court effectively modified its scheduling order, Doc. 43, concerning the deadline [for Plaintiffs]

                                   2     to file motions to add parties or to amend pleadings from December 1, 2017, to May 7, 2018.

                                   3             The ABA Defendants also seize Sosa v. Airprint Sys., Inc., 133 F.3d 1417 (11th Cir.

                                   4     1998), for the proposition that adding them to the instant action was untimely. In Sosa, the

                                   5     plaintiff, a former employee suing her former employer, sought leave to amend to well after the

                                   6     court’s deadline for amending the complaint. Id. at 1418. The district court denied the motion

                                   7     as untimely. Id. The court also held that plaintiff’s counsel failed to ascertain the number of

                                   8     employees before filing suit, took no steps to acquire this information early in the discovery

                                   9     period, and found that the information supporting the proposed amendment was available to

                                  10     plaintiff even before she filed suit. 16 Id.

                                  11            Here, Bernier and Love amended the complaint pursuant to the court’s order. See Doc.
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                                  12     71; see also Fed. R. Civ. P. 15(a)(2) (noting that, “a party may amend its pleading only with the
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                                  13     opposing party’s written consent or the court’s leave.”). Id. Consequently, Bernier and Love

                                  14     Plaintiff timely asserted the allegations that the ABA Defendants are liable for negligence.

                                  15             WHEREFORE, Relator/Plaintiff, BARBARA BERNIER, and Plaintiff, ESE LOVE,

                                  16     pursuant to M. D. Fla. R. 3.01(b), respectfully seek the entry of an order DENYING the motion

                                  17     to dismiss count III of the second amended complaint, Doc. 86, served by Defendants,

                                  18     AMERICAN BAR ASSOCIATION, d/b/a COUNCIL OF THE SECTION OF LEGAL

                                  19     EDUCATION AND ADMISSIONS TO THE BAR and AMERICAN BAR ASSOCIATION,

                                  20     d/b/a ACCREDITATION COMMITTEE OF THE SECTION OF LEGAL EDUCATION AND

                                  21     ADMISSIONS TO THE BAR.

                                  22

                                  23     DATED on June 14, 2018

                                  24

                                  25                                                    Respectfully submitted,

                                  26                                                    WATSON LLP

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                                                   The ABA Defendants also conveniently omit that they failed to respond to a subpoena
                                  28     duces tecum that Bernier served in November 2017, which sought documents between the ABA
                                         and the Infilaw Defendants concerning both provisional and full accreditation of CSOL.
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                                                                        CERTIFICATE OF SERVICE
                                   1
                                                I HEREBY CERTIFY that on June 14, 2018, pursuant to Fed. R. Civ. P. 5(b)(2)(E), I
                                   2     served an electronic copy of the foregoing document on the following counsel of record in this
                                         proceeding:
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                                        MEMORANDUM OF LAW IN OPPOSITION TO ABA DEFENDANTS’ MOTION TO DISMISS-23
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